Case 2:18-bk-20028        Doc 256      Filed 09/20/18 Entered 09/20/18 12:51:12              Desc Main
                                      Document      Page 1 of 8


                     IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

 In re:                                              )     Chapter 11
                                                     )
 Daily Gazette Company, et al.,                      )     Case No. 18-20028
                                                     )
                        Debtors.1                    )     (Jointly Administered)

                    DEBTORS’ MOTION TO APPROVE (A) RETENTION
                    OF AUCTIONEER AND (B) SALE OF REAL ESTATE

          Daily Gazette Company, and its affiliated debtors and debtors-in-possession (collectively,

 the “Debtors”) in the above-captioned chapter 11 cases, hereby move (this “Motion”), pursuant to

 sections 327, 328 and 363 of title 11 of the United States Code (the “Bankruptcy Code”), Rules

 2014 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local

 Rule 6004-1, for the entry of an order (a) authorizing the retention of Greenway’s Real Estate &

 Auction, Inc. (“Auctioneer”) as auctioneer and (b) approving the sale of certain vacant real estate

 owned by Debtor Daily Gazette Company (“DGC”), and state as follows:

                                    JURISDICTION AND VENUE

          1.     The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

 and 1334.

          2.     This is a core proceeding under 28 U.S.C. § 157(b), and the Debtors consent to

 entry of a final order by the Court in connection with this Motion to the extent it is later determined

 that the Court, absent consent of the parties, cannot enter final orders or judgments in connection

 herewith consistent with Article III of the United States Constitution.

          3.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.



 1
     The Debtors and the last four digits of each Debtor’s taxpayer identification number are as follows:
     Daily Gazette Company (4480); Daily Gazette Holding Company, LLC (2981); Charleston
     Newspapers Holdings, L.P. (3028); Daily Gazette Publishing Company, LLC (3074); Charleston
     Newspapers (6079); and G-M Properties, Inc. (4124).

 141144331.1
Case 2:18-bk-20028       Doc 256      Filed 09/20/18 Entered 09/20/18 12:51:12             Desc Main
                                     Document      Page 2 of 8


          4.    The statutory bases for the relief requested herein are sections 327, 328 and 363 of

 the Bankruptcy Code, Bankruptcy Rules 2014 and 6001 and Local Rule 6004-1.

                                          BACKGROUND

 A.       Chapter 11 Filings And The Debtors’ Business

          5.    On January 30, 2018 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief with the Court under chapter 11 of the Bankruptcy Code. No trustee, examiner

 or creditors’ committee has been appointed in these cases.

          6.    Prior to the Court-approved sale of their business and assets, the Debtors

 collectively operated privately owned information and entertainment businesses consisting of the

 flagship newspaper, The Charleston Gazette-Mail, as well as a related website, weekly

 publications, a saturation mail product and the following verticals: www.wvcarfinder.com;

 www.wvrealestatefinder.com; www.wvjobfinder.com; and www.gazettemailclassifieds.com. As

 of the Petition Date, the Debtors employed, collectively, approximately 210 people, approximately

 170 of which are full-time employees and 40 of which are part-timers.

 B.       The Sale Of The Debtors’ Business And Assets

          7.    On March 12, 2018, the Court entered an Order (A) Authorizing the Sale of

 Substantially all of the Debtors’ Assets Free and Clear of Liens, Claims, Encumbrances, and Other

 Interests, (B) Authorizing and Approving the Debtors’ Performance Under the Asset Purchase

 Agreement, (C) Approving the Assumption and Assignment of Certain of the Debtors’ Executory

 Contracts and Unexpired Leases Related Thereto, and (D) Granting Related Relief [Dkt. #141]

 (the “Sale Order”). But for the parcel of real estate that is the subject of this Motion and which is

 described in more detail below, the Sale Order approved the sale of the Debtors’ business and

 substantially all of their assets (collectively, the “Operating Assets”) to HD Media Company, LLC

 (“HD Media”) or its designee.

                                                 -2-
 141144331.1
Case 2:18-bk-20028         Doc 256    Filed 09/20/18 Entered 09/20/18 12:51:12            Desc Main
                                     Document      Page 3 of 8


          8.    On March 30, 2018, the Debtors and HD Media’s designee, ETBN Group, LLC,

 closed on the sale of the Operating Assets. Since that time, the Debtors have been engaged in an

 orderly wind-down as described in more detail in Debtor’s Motion for Authority to Disburse Net

 Sale Proceeds [Dkt. #152].

 C.       The Timberline Real Estate

          9.    The Operating Assets that were the subject of the Sale Order did not include certain

 unimproved real property in Dry Fork District, Tucker County, West Virginia, which is commonly

 known as Tract No. 38 in Deer Ridge Section of Timberline Sub-Division and which is owned by

 DGC (the “Timberline Real Estate”). The Timberline Real Estate is encumbered by a lien in favor

 of the Pension Benefit Guaranty Corporation (“PBGC”) in the amount of $1,627,808.00 (the

 “PBGC Lien”). The PBGC Lien is evidenced by certain Notices of Federal Lien under I.R.C.

 §§ 412(n) and/or 430(k) filed by the PBGC in July 2015, October 2015, February 2016, May 2016,

 and June 2016, copies of which are attached to the proof of claim filed by the PBGC against DGC,

 which was designated as Claim No. 10 (the “PBGC Claim”) and which is attached hereto as

 Exhibit A. The Timberline Real Estate represents the only remaining asset of the Debtors’ estates.

 Moreover, the Debtors are not aware of any other liens, claims or encumbrances against the

 Timberline Real Estate.

 D.       The Auctioneer’s Retention And Proposed Sale Of The Timberline Real Estate

          10.   As part of their efforts to wind-down in an orderly fashion, the Debtors have elected

 to sell the Timberline Real Estate pursuant to an auction. In that regard, the Debtors have selected

 Auctioneer to market and sell at auction the Timberline Real Estate. With locations in Covington,

 Virginia and Lewisburg, West Virginia, Auctioneer has extensive experience marketing real estate

 and conducting auctions and is familiar with the Timberline Real Estate and the market in which



                                                -3-
 141144331.1
Case 2:18-bk-20028       Doc 256     Filed 09/20/18 Entered 09/20/18 12:51:12             Desc Main
                                    Document      Page 4 of 8


 it is located. Accordingly, the Debtors believe that Auctioneer is well-equipped to market and sell

 the Timberline Real Estate on DGC’s behalf.

          11.    The Debtors have consulted extensively with Auctioneer and are informed and

 believe that a sale of the Timberline Real Estate pursuant to an auction will fetch the highest and

 best price within a reasonable time. Indeed, the Debtors are informed and believe that it would be

 impractical for the them to merely list the Timberline Real Estate for sale with a broker and hope

 for a purchaser to emerge, as owners of similarly situated vacant parcels of real estate in the area

 have been unsuccessful in such sale efforts.

          12.    Moreover, the Debtors have consulted with the PBGC and the PBGC is supportive

 of the Debtors’ engagement of Auctioneer and proposed sale of the Timberline Real Estate,

 provided that, as discussed below, a “reserve” price is met. Since the Timberline Real Estate is

 believed to be worth far less than the amount of the PBGC Lien, the PBGC has agreed to the

 Debtors’ proposed sale, to release its lien upon closing, and to permit the sale proceeds to be used

 to pay for the costs of sale, including Auctioneer’s compensation described below and the Debtors’

 reasonable attorneys’ fees and costs incurred in pursuing this Motion and selling the Timberline

 Real Estate.2

                                     RELIEF REQUESTED

          13.    By this Motion, the Debtors request the entry of an order: (a) authorizing them to

 (i) retain Auctioneer to market and sell the Timberline Real Estate pursuant to the terms and

 conditions of an Auction Listing Agreement dated as of August 9, 2018 by and between DGC and

 Auctioneer (the “Auction Agreement”)3 and (ii) pay Auctioneer its compensation described in the

 Auction Agreement without any further Court order; and (b) authorizing and approving (i) the sale



 2
     Such attorneys’ fees and costs shall remain subject to Court approval.
 3
     A true and correct copy of the Auction Agreement is attached hereto as Exhibit B.
                                                -4-
 141144331.1
Case 2:18-bk-20028        Doc 256     Filed 09/20/18 Entered 09/20/18 12:51:12              Desc Main
                                     Document      Page 5 of 8


 of the Timberline Real Estate to the winning bidder at an auction free and clear of all liens, claims,

 encumbrances and interests, and (ii) the payment of net sale proceeds to the PBGC upon closing.

                               BASIS FOR RELIEF REQUESTED

 A.       The Court Should Approve The Auctioneer’s Retention And Compensation

          14.   As set forth above, the Debtors believe that Auctioneer has the skill and expertise

 necessary to market and sell the Timberline Real Estate. The Debtors also believe that the terms

 of the Auction Agreement are market-based and fair and reasonable under the circumstances.

 Pursuant to the Auction Agreement, Auctioneer will handle all aspects of the Timberline Real

 Estate’s marketing and conduct all aspects of the auction. The Auction Agreement provides that

 Auctioneer is entitled to a single, non-refundable $1,500 payment to reimburse it for all marketing

 expenses (the “Expense Payment”) and, in lieu of a traditional commission, Auctioneer will charge

 and receive a “Buyer’s Premium” in the amount of ten percent (10%) of the sale price (the “Buyer’s

 Premium” and, together with the Expense Payment, the “Auctioneer Compensation”).

          15.   Although the Auction Agreement provides that the auction shall take place on

 September 29, 2018, the auction will not occur on that date, but rather will likely occur by the end

 of October, 2018, to provide Auctioneer with sufficient time to market the Timberline Real Estate.

 Indeed, Auctioneer has already initiated preparations for the auction and commenced marketing

 efforts. Moreover, the Auction Agreement further provides for a reserve, which amount must be

 met to convey title to the Timberline Real Estate. The PBGC requested such a reserve to ensure

 that the real estate would not be conveyed for an unreasonably low purchase price. The Debtors

 have redacted the reserve amount from the Auction Agreement that is attached to this Motion to

 avoid the public and potential buyers from discovering it.

          16.   The Debtors request that they be authorized to pay the Auctioneer Compensation

 without any further Court order. Section 328(a) of the Bankruptcy Code provides, in relevant part,

                                                 -5-
 141144331.1
Case 2:18-bk-20028       Doc 256     Filed 09/20/18 Entered 09/20/18 12:51:12             Desc Main
                                    Document      Page 6 of 8


 that the Debtors “with the court’s approval, may employ or authorize the employment of a

 professional person under section 327 . . . on any reasonable terms and conditions of employment,

 including on a retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent

 fee basis.” 11 U.S.C. § 328(a). Section 328 of the Bankruptcy Code permits the compensation of

 professionals, including brokers and financial advisors, on more flexible terms that reflect the

 nature of their services and market conditions. As the United States Court of Appeals for the Fifth

 Circuit recognized in Donaldson Lufkin & Jenrette Sec. Corp. v. Nat’l Gypsum (In re Nat’l Gypsum

 Co.), 123 F.3d 861 (5th Cir. 1997):

                Prior to 1978 the most able professionals were often unwilling to
                work for bankruptcy estates where their compensation would be
                subject to the uncertainties of what a judge thought the work was
                worth after it had been done. That uncertainty continues under the
                present § 330 of the Bankruptcy Code, which provides that the court
                award to professional consultants “reasonable compensation” based
                on relevant factors of time and comparable costs, etc. Under present
                § 328 the professional may avoid that uncertainty by obtaining court
                approval of compensation agreed to with the trustee (or debtor or
                committee).

 123 F.3d at 862 (internal citations and emphasis omitted).

          17.   The Debtors submit that the Auctioneer Compensation is consistent with

 Auctioneer’s normal and customary fee arrangements for auctions of this size and that the

 Auctioneer Compensation is market-based and fair and reasonable under the standards set forth in

 section 328(a) of the Bankruptcy Code.

          18.   Moreover, as set forth in more detail in the Declaration of Tommy Garten, a copy

 of which is attached hereto as Exhibit C, Auctioneer is disinterested and eligible to be retained by

 the Debtors. Indeed, Auctioneer is not a creditor of any of the Debtors and does not hold or

 represent any interest adverse to the Debtors’ estates. See Ex. C.

          19.   Accordingly, the Court should approve Auctioneer’s retention pursuant to the terms

 of the Auction Agreement and the Auctioneer Compensation without further Court order.
                                             -6-
 141144331.1
Case 2:18-bk-20028         Doc 256    Filed 09/20/18 Entered 09/20/18 12:51:12              Desc Main
                                     Document      Page 7 of 8


 B.       The Court Should Approve The Auction And Sale Of Timberline Real Estate

          20.    Section 363 of the Bankruptcy Code provides, in relevant part, that “[t]he trustee,

 after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

 property of the estate.” 11 U.S.C. § 363(b)(1). A sale of a debtor’s assets pursuant to section

 363(b) of the Bankruptcy Code is permissible when “a sound business justification exists.” In re

 Daufuskie Island Props., LLC, 431 B.R. 626, 638-39 (Bankr. D. S.C. 2010). The “business

 purpose” test is satisfied if:

                 (1) a sound business reason or emergency justifies a pre-confirmation sale;
                 (2) a sale has been proposed in good faith; (3) adequate and reasonable
                 notice of the sale has been provided to parties-in-interest; and (4) the
                 purchase price is fair and reasonable.

 Id.

          21.    Here, a sound business reason exists for selling the Timberline Real Estate, as the

 Debtors are no longer operating, have no further use for such property, and are not deriving any

 income or other gain from the Timberline Real Estate. Moreover, the Debtors are proposing the

 sale in good faith and to maximize the value of the Timberline Real Estate within a reasonable

 amount of time. Further, as set forth above, the Debtors are informed and believe that an auction

 to be conducted by Auctioneer is the only practical means by which to dispose of the Timberline

 Real Estate, as buyers are less likely to emerge if the Debtors merely list the property for sale at a

 pre-established price. Therefore, in an exercise of their sound business judgment, the Debtors

 submit that they will be able to maximize the value of the Timberline Real Estate if it is sold by

 Auctioneer pursuant to an advertised auction.

          22.    Based upon the foregoing, the Debtors request that the Court approve the proposed

 auction and sale of the Timberline Real Estate to the winning bidder to be identified following the

 conclusion of the auction, and to authorize disbursement of the net sale proceeds to the PBGC

 upon closing without further order of Court.
                                                 -7-
 141144331.1
Case 2:18-bk-20028       Doc 256      Filed 09/20/18 Entered 09/20/18 12:51:12         Desc Main
                                     Document      Page 8 of 8


 C.       Relief From Bankruptcy Rule 6004(h)

          23.   Under Bankruptcy Rule 6004(h), unless the Court orders otherwise, all orders

 authorizing the sale of property pursuant to section 363 of the Bankruptcy Code are automatically

 stayed for fourteen days after entry of the order. Here, to minimize the continuing costs of

 administering and preserving the Debtors’ estates and the Timberline Real Estate, the Debtors

 request that the Court waive the fourteen-day stay period under Bankruptcy Rule 6004(h).

                                          CONCLUSION

          WHEREFORE, the Debtors respectfully request that the Court enter an order approving:

 (a) the Debtors’ retention of the Auctioneer pursuant to the terms and conditions of the Auction

 Agreement; and (b) the sale of the Timberline Real Estate to the winning bidder following an

 auction free and clear of all liens, claims, encumbrances and other interests.

  Dated: September 20, 2018                            PERKINS COIE LLP

                                                       By: /s/ Brian A. Audette
                                                       Brian A. Audette (IL Bar No. 6277056)
                                                       (Admitted Pro Hac Vice)
                                                       131 S. Dearborn St., Suite 1700
                                                       Chicago, IL 60603
                                                       Telephone: 312.324.8534
                                                       baudette@perkinscoie.com
                                                       -and-

                                                       Joe M. Supple, Bar. No. 8013
                                                       SUPPLE LAW OFFICE, PLLC
                                                       801 Viand St.
                                                       Point Pleasant, WV 25550
                                                       Telephone: 304.675.6249
                                                       joe.supple@supplelaw.net

                                                       Co-Counsel to the Debtors and Debtors in
                                                       Possession




                                                 -8-
 141144331.1
